                 Case 2:18-cv-00112-JCC Document 15 Filed 04/04/18 Page 1 of 8



 1   Bernardo Cruz                                                        The Honorable John C. Coughenour
     Tony Gonzalez
     Lori Jordan Isley
 2   Joachim Morrison
     COLUMBIA LEGAL SERVICES
 3   300 Okanogan Ave., Suite 2A
     Wenatchee, WA 98801
 4   (509) 662-9681

     Adam Berger
 5   Lindsay Halm
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 6   810 Third Avenue, Suite 500
     Seattle, Washington 98104
     (206) 622-8000
 7
                                UNITED STATES DISTRICT COURT
 8                             WESTERN DISTRICT OF WASHINGTON
 9   BARBARO ROSAS and GUADALUPE                         CLASS ACTION
     TAPIA, as individuals and on behalf of all
10   other similarly situated persons,                   Civil Action No. 2:18-CV-0112-JCC

11                                 Plaintiffs,           DECLARATION OF JOACHIM MORRISON
                    vs.                                  IN SUPPORT OF PLAINTIFFS’ MOTION
12                                                       TO SERVE DEFENDANT CSI VISA
     SARBANAND FARMS, LLC, MUNGER                        PROCESSING S.C. PURSUANT TO RULE
13   BROS., LLC., NIDIA PEREZ, and CSI VISA              4(f)(3)
     PROCESSING S.C.,
14
                                   Defendants.
15
            I, Joachim Morrison, declare under penalty of perjury that the following statements are
16
     true and correct:
17
            1.       My name is Joachim Morrison. I am over eighteen years of age, competent to
18
     testify as to the statements made in this declaration, and this declaration is based on my personal
19
     knowledge.
20
            2. I am an attorney with Columbia Legal Services. I am lead counsel for the Plaintiffs
21
     Barbaro Rosas and Guadalupe Tapia.
22

23

     DECLARATION OF JOACHIM MORRISON IN                                         Columbia Legal Services
     SUPPORT OF PLAINTIFFS’ MOTION TO SERVE                                 300 Okanogan Avenue, Suite 2A
                                                                                    Wenatchee, WA 98801
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     PURSUANT TO RULE 4(f)(3)- 1
                 Case 2:18-cv-00112-JCC Document 15 Filed 04/04/18 Page 2 of 8



 1          3.       On August 8, 2017, I was in Sumas, Washington meeting with H-2A farm

 2   workers, including the named Plaintiffs, at a make-shift tent camp where the workers were living

 3   after being fired and evicted from Sarbanand Farms.

 4          4.       On that day, I spoke with Roxana Macias, a full-time employee of CSI Visa
 5   Processing based in Olympia, Washington, who was attempting to speak with the H-2A workers
 6   on behalf of Munger and Sarbanand.
 7          5.       I informed Ms. Macias I represented the workers and she needed to run all
 8   communications through me. She provided me with a copy of her business card which identifies
 9   her as the Director of Compliance. Exhibit 1. Ms. Macias’s role as the Director of Compliance
10   “is to ensure all parties involved in recruitment of H2 workers abide by all applicable laws and
11   regulations.” Exhibit 3.
12
            6.       I recognized Ms. Macias as someone who had previously worked for a
13
     Washington H-2A labor contractor called WAFLA as I had been involved in another class action
14
     lawsuit and reviewed discovery with her name on H-2A filings on behalf of a Washington grape
15
     grower along with multiple emails between herself and the agricultural defendant in that case.
16
            7.       Based on additional investigation, I learned that Ms. Macias worked for WAFLA
17
     for approximately three years on H-2A applications for Washington growers before leaving to
18
     work at CSI Visa Processing around 2016. Ms. Macias has lived in Washington state for years
19
     having grown up in the Yakima Valley, graduated from the University of Washington, and
20
     worked for the Washington State Employment Security Department for two years. Exhibit 3.
21
            8.       During my investigation, I also researched the Washington Secretary of State’s
22
     corporations website and discovered an entity called CSI Visa Processing, USA (“CSI USA”)
23
     located in Olympia, Washington.
     DECLARATION OF JOACHIM MORRISON IN                                        Columbia Legal Services
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     PURSUANT TO RULE 4(f)(3)- 2
                 Case 2:18-cv-00112-JCC Document 15 Filed 04/04/18 Page 3 of 8



 1          9.       The documents on the Secretary of State’s website were filed by Ms. Macias in

 2   January 2017 and she was listed as the number one executor on CSI USA’s application.

 3   Additionally, the address provided by Ms. Macias matched the address of CSI USA in Olympia,

 4   Washington. Exhibit 2.

 5          10.      The Initial Report filed with the Secretary of State states the nature of CSI USA’s
 6   business is to “engage in assisting entities in the processing of H2 agriculture visa non immigrant
 7   workers.” Id.
 8          11.      The two other executors listed on the Secretary of State application were
 9   Guillermo Mathus and Tania de la Fuente. Id.
10
            12.      The address provided for Mr. Mathus was in Durango, Mexico and the address
11
     provided by Ms. de la Fuente was in Monterrey, Mexico. Id.
12
            13.      Guillermo Mathus is the president of CSI Visa Processing, S.C. based in Durango,
13
     Mexico. Exhibit 3.
14
            14.      Tania de la Fuente’s business card lists her as the General Manager for CSI S.C.
15
     based in Monterrey, Mexico. Exhibit 4.
16
            15.      On January 25, 2018, Plaintiffs initially filed suit against CSI Visa Processing,
17
     USA.
18
            16.      On January 31, 2018, attorney Adam Belzberg of Stoel Rives LLP in Seattle,
19
     Washington contacted me by telephone and stated that he had been retained by CSI Visa
20
     Processing. Mr. Belzberg provided me with an email that he believed should lead Plaintiffs to
21
     dismiss their claims against CSI USA and avoid suing the Mexican entity. Mr. Belzberg’s email
22
     stated CSI Visa Processing, USA should be dismissed because it had “never been used for
23

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     PURSUANT TO RULE 4(f)(3)- 3
               Case 2:18-cv-00112-JCC Document 15 Filed 04/04/18 Page 4 of 8



 1   anything.” He also provided an email from Roxana Macias and urged the Plaintiffs to dismiss

 2   their FLCA claims because CSI Visa Processing S.C. was not subject to licensure in

 3   Washington. Exhibit 5.

 4          17.     In part, the email from Ms. Macias stated, “CSI is a service provider in Mexico,

 5   that engages in recruiting foreign H-2A workers. Our primary function is disclosing a work

 6   contract to workers Washington State employers seek to employ. All of our services are rendered

 7   in Mexico.” In response, I requested additional documentation from Mr. Belzberg about CSI

 8   Visa Processing S.C.

 9          18.     During January and February, Plaintiffs hired a process server and then a private
10   investigator to serve the summons and complaint on CSI USA at its Olympia address. Both were
11   unable to serve anyone at the Olympia address, and it appeared to them that Ms. Macias was
12   evading service. I then re-contacted Mr. Belzberg and on March 1, 2018 he informed me he
13   would accept service on behalf of CSI USA.
14
            19.     Between March 5 and 7, 2018, Mr. Belzberg provided information that indicated
15   CSI Visa Processing S.C. was the proper defendant, because CSI USA had not been involved in
16   recruiting or processing the visas for the Plaintiffs or other putative class members in this case.
17   Mr. Belzberg provided multiple documents (contracts, forms, sign-in sheets) related to the
18   Plaintiffs, all of which he presumably obtained from the files of CSI Visa Processing S.C. Based
19   on Mr. Belzberg’s representation the CSI USA never conducted any business, it was a strong
20   indication that he was and has been in direct communication with CSI in Mexico.
21
            20.     On March 7, 2018, Plaintiffs Rosas and Tapia filed an Amended Complaint
22
     against CSI Visa Processing S.C. and provided a courtesy copy to Mr. Belzberg via email.
23

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     PURSUANT TO RULE 4(f)(3)- 4
              Case 2:18-cv-00112-JCC Document 15 Filed 04/04/18 Page 5 of 8



 1          21.     On March 8, 2018, Mr. Belzberg informed Plaintiffs’ counsel that he did not have

 2   authority to accept service on behalf of CSI S.C. Exhibit 5.

 3          22.     Our office researched service of process in Mexico via the Hague Convention and
 4   determined it will take approximately one year to serve CSI S.C., and the cost of serving CSI
 5   S.C. will be approximately $3,000.
 6          23.     On March 28, 2018, I telephoned Mr. Belzberg and informed him of our research
 7   on Hague Convention service in Mexico and told him that a year’s delay would not be in the
 8   interests of my clients, and that a class action needed to move much more quickly so a court
 9   could determine whether a class was appropriate. I also informed him that based on my legal
10   research we would be able to obtain an order for alternative service under Rule 4(f)(3) and asked
11   him to see if his client would waive service. Mr. Belzberg requested 24 hours to review the cases
12   I had researched and I forwarded those to him after our call.
13
            24.     At the end of the day on March 29, 2018, Mr. Belzberg emailed a response to me
14
     indicating that our research was not on point and that he believed a motion for alternative service
15
     was premature and would be sanctionable under Rule 11. He further stated that we could only
16
     seek alternative service after we had attempted service through the Hague Convention for at least
17
     six months.
18
            25.     On March 30, 2018, I telephoned Mr. Belzberg to discuss his email and provide
19
     additional case law to support our request that CSI waive service. I informed him he was
20
     misreading the rule and the case law and that alternative service in the United States was possible
21
     irrespective of whether a plaintiff had attempted service under the Hague Convention.
22
            26.     During the call I asked if Mr. Belzberg was in contact with representatives from
23
     CSI S.C. regarding this lawsuit.
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     PURSUANT TO RULE 4(f)(3)- 5
               Case 2:18-cv-00112-JCC Document 15 Filed 04/04/18 Page 6 of 8



 1          27.     Mr. Belzberg told me that he had communicated with them regarding our

 2   dismissal of the CSI USA entity and the addition of the CSI S.C. Mexican entity, and that he had

 3   forwarded to them a copy of the lawsuit. He added that he had no authority to waive service and

 4   did not technically represent CSI S.C.

 5          28.     I responded to Mr. Belzberg that I did not see any difference between the two
 6   entities because they had the same principals – Ms. Macias, Mr. Mathus, and Ms. de la Fuente.
 7          29.     Mr. Belzberg agreed with my assessment and stated that CSI USA and CSI S.C.
 8   were “the same owners; the same people.”
 9
            30.     After the call, I sent Mr. Belzberg additional case law supporting our position that
10
     alternative service in the United States was outside the formalities of the Hague Convention and
11
     a plaintiff does not have to first attempt service under the Hague Convention in order to obtain
12
     an order for alternative service. He promised to look at the cases right away and get back to me.
13
            31.     Later that day, Mr. Belzberg sent me an email stating, “As a foreign entity that is
14
     covered by The Hague Convention and has no employees or operations in the US, it would be
15
     contrary to FRCP 4(f)(1) and due process for service to be permitted on CSI domestically in this
16
     case.” Exhibit 6.
17
            32.     Plaintiffs have served both grower defendants and the individual defendant, Nidia
18
     Perez, and have held two productive, in-person meetings with their counsel to discuss scheduling
19
     for discovery and class certification. Counsel for these defendants have raised concerns that
20
     further progress will be difficult or impossible due to CSI’s absence and potential delay due to
21
     service under the Hague Convention.
22

23

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     PURSUANT TO RULE 4(f)(3)- 6
              Case 2:18-cv-00112-JCC Document 15 Filed 04/04/18 Page 7 of 8



 1          33.    Attached as Exhibit 1 is a true and accurate copy of the business card provided to

 2   me in August 2017 by Roxana Macias.

 3          34.    Attached as Exhibit 2 is a true and accurate copy of the CSI Visa Processing
 4   USA’s Initial Report filed with the Washington State Secretary of State Corporations Division.
 5
            35.    Attached as Exhibit 3 is a true and accurate copy of an agenda and biographies
 6   downloaded from the Washington Farm Labor Association (WAFLA) website.
 7
            36.    Attached as Exhibit 4 is a true and accurate copy of the business card of Tania de
 8
     la Fuente.
 9
            37.    Attached as Exhibit 5 is a true and accurate copy of emails exchanged between
10
     attorney Adam Belzberg and myself between January 31, 2018 and March 8, 2018.
11
            38.    Attached as Exhibit 6 is a true and accurate copy of an email to me from Adam
12
     Belzberg dated March 30, 2018.
13
            39.    Attached as Exhibit 7 is a true and accurate copy of the declarations of process
14
     server Holly Hart and private investigator Theodore Trask regarding their attempt to serve CSI
15
     Visa Processing, USA in Olympia, Washington.
16
            SIGNED at Wenatchee, Washington this 4th day of April, 2018.
17
                                                    s/ Joachim Morrison
18                                                  Joachim Morrison, WSBA# 23094
                                                    COLUMBIA LEGAL SERVICES
19                                                  300 Okanogan Avenue, Suite 2A
                                                    Wenatchee, WA 98801
20                                                  (509) 662-9681
                                                    Email:joe.morrison@columbialegal.org
21                                                  Attorney for Plaintiffs

22

23

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     PURSUANT TO RULE 4(f)(3)- 7
               Case 2:18-cv-00112-JCC Document 15 Filed 04/04/18 Page 8 of 8



1                                      CERTIFICATE OF SERVICE

2           I hereby certify that on this 4th day of April, 2018, I electronically filed the foregoing

3    document with the Clerk of the Court using the CM/ECF system, which will send notification of

4    such filing to the following:

5
            David N. Bruce              dbruce@sbwllp.com; eservice«v,sbwllp.com
6
            Miles A. Yanick             myanick@sbwllp.com; eservice@sb'vvllp.com
7
            C. N. Coby Cohen            ccohen@swbllp.com; eservice@sbwllp.com
8
            Adam 1. Berger              berger@sgb-Iaw.com; cronan@sb-Iaw.com; molina@sgb­
                                        law.com; oneil@sgb-Iaw.com; whalen@sgb-law.com
9
            Lindsay Halm                halm@sgb-Iaw.com
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11                                      elvia.bueno@columbialegal.org;
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12
            Tony Gonzalez               tonv.gonzalez@columbialegal.org;
13                                      ivy.rosa@columbialegal.org

14          LOli Isley                  lori.isley@columbialegal.org;
                                        rachael.pashkowski@columbialegal.org
15
            Joachim Morrison            joe.monison@columbialegal.org;
16                                      rachael.pashkowskiCw,columbialegal.org

17           And I hereby certify that I have caused the document to be hand-delivered by courier to


18   the following non-CM/ECF participants:


19          Adam Belzberg


                                                �
            Stoel Rives LLP
20          600 University Street, Suite 3600
            Seattle, WA 98101-4109
21

22                                                  Rachael Pashkowski


23


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     PURSUANT TO RULE 4(f)(3)- 8
